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 4
     Attorney for Defendant
 5   FERNANDO LOPEZ
 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                               Case No.: 06-CR-00367-OWW
13                                     PLAINTIFF,            STIPULATION AND ORDER TO
                                                             CONTINUE
14                                                           STATUS CONFERENCE
     v.
15
     DAGOBERTO LLANES,
16   FERNANDO LOPEZ,
17                                     DEFENDANTS.
18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE OLIVER
19   W. WANGER; AND DAWRENCE RICE JR., ASSISTANT UNITED STATES ATTORNEY:
20           COMES NOW Defendant, FERNANDO LOPEZ, by and through his attorney
21   of record, DAVID A. TORRES hereby requesting that the status conference currently set for
22   03/05/2007 be continued to 04/02/2007 at 9:00 a.m. or a date convenient to court and counsel.
23           I am respectfully requesting a continuance of the status conference because I am currently
24   involved in a State jury trial for the matter of People v. Juan Rodriguez. Therefore, I will be
25   unable to proceed with the status conference. I have been in contact with Mr. Rice and co-
26   counsel and they have no opposition to this request.
27           Based upon the foregoing, I respectfully request that the status conference be continued to
28   April 2, 2007.
     Stipulation and Order to Continue Status Conference 1
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 1           The parties also agree that the delay resulting from the continuance shall be excluded in
 2   the interest of justice pursuant to 18 U.S.C. §3161 (H)(8)(A).
 3   Dated: 03/01/2007
 4                                                           /s/ David A. Torres
                                                             DAVID A. TORRES
 5                                                           Attorney for Fernando Lopez
 6
     Dated: 03/01/2007                                       /s/ Victor M. Chavez
 7                                                           VICTOR M. CHAVEZ
                                                             Attorney for Dagoberto Llanes
 8
 9
                                                             McGREGOR W. SCOTT
10                                                           United States Attorney
11
     Dated: 03/01/2007                                       By /s/ Dawrence Rice Jr.
12                                                           Dawrence Rice Jr.
                                                             Assistant U.S. Attorney
13
14                                                    ORDER
15           IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
16   §3161(h)(8)(A).
17   IT IS SO ORDERED.
18   Dated: March 6, 2007                                   /s/ Oliver W. Wanger
     emm0d6                                            UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to Continue Status Conference 2
